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   EXHIBIT 28
   EXHIBIT
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                                 Declaration of Kimberly Newberry

I, Kimberly Newberry, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that
the following is true and correct:

    1)    I am   employed    as an assistant federal public defender.    My   office represents   Daryl!
          Lawrence    in his § 2255   litigation in the Southern District of Ohio. Following         the
          commutation of Mr. Lawrence’s death sentence by President Biden, I was told by a BOP
          official that the BOP’s designation team had determined that Mr. Lawrence should be sent
          to a high security penitentiary.    After the Executive    Order and Attorney      General’s
          Memorandum were issued, and after meetings with representatives from the Attorney
          General and Deputy Attorney General’s Offices, the BOP official told us that Mr.
          Lawrence now would almost certainly be sent to ADX. Details of those conversations are
          set forth below.

   2)     In February 2006, Mr. Lawrence was convicted of three counts of armed bank robbery (18
          U.S.C. § 2113(a)), attempted bank robbery, three counts of using or carrying a firearm
          during and in relation to an armed bank robbery (18 U.S.C. § 924(c)(i)(A)(ii)), one count
          of armed bank robbery resulting in death (18 U.S.C. § 2113 (a), (d), (e)); and one count of
          causing death by use of a firearm during commission of a bank robbery (18 U.S.C. § 924(c),
          ()C)). Mr. Lawrence was sentenced to one death sentence, life in prison without parole,
          and 781 months in prison. Mr. Lawrence was found indigent prior to his trial and received
         appointed counsel, and he has remained indigent since then.

   3)     On December 23, 2024, President Biden commuted Mr. Lawrence’s death sentence. Mr.
         Lawrence’s § 2255 counsel immediately started to gather information on what the process
         would be to designate Mr. Lawrence for placement within the Bureau of Prisons (BOP)
         following his transfer from the Special Confinement Unit (SCU).

   4)    On January 7, 2024, Chris Synsvoll, an attorney with BOP, met with defense counsel
         representing those who received commutations. He told us he would be our main point of
         contact for the BOP as our clients went through the redesignation process. | was on that
         call.

   5)    On this group call, Mr. Synsvoll explained that each of our clients would receive an
         individual assessment to determine their new designation. The BOP was considering
         multiple United States Penitentiary (USP) locations for the 37 men whose sentences were
         commuted.

   6)    Mr. Synsvoll informed us this would be an individualized process similar to anyone else
         requiring re-designation within the BOP, and that the BOP would be looking at factors
         such as our clients’ prior history, prison disciplinary record, participation in classes, and
         medical and mental health history. The SCU unit teams at USP Terre Haute would be
         gathering this information at the institutional level, but Mr. Synsvoli told us that we can

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     and should submit anything on our clients’ behalf that would be relevant to this process.
     This included anything about our clients’ medical and mental health history that the BOP
     may not be aware of, information we had about our clients’ adjustment to prison, and the
     geographic location of our clients’ families, or those who would be most likely to visit with
     them (such as the legal team). Mr. Synsvoll preferred that we provide this as a formal
     submission via memorandum rather than an email.

7)   Mr. Synsvoll told us that Rick Stover would be the final decisionmaker, with assistance
     from Shane Salem. I did not catch their titles during that call, but I understood them to be
     Mr. Synsvoll’s superiors in the BOP and part of the BOP designation team.

8)   At this point in early   January, Mr. Synsvoll explained that the BOP designation team was
     at the start of the process, but it had already met twice. The BOP expected to complete the
     process and have a decision on everyone’s designation within weeks, not months. He urged
     us to provide our client-specific memos to him by that Friday, January 10, 2025, as the
     designation team was reviewing everyone individually and had a lot to get through in the
     next few weeks.

9)   Mr. Synsvoll asked us to share all potentially relevant information with his team so they
     could make more informed placement decisions. He stressed the importance of           BOP having
     as much information as possible to make informed placement decisions.

10) Mr. Synsvoll walked us through the various programs that our clients might be transferred
     to. The purpose was so that if there was a specific placement that might be appropriate for
     our clients’ individual needs, we could include this in our submissions.

11) Mr. Synsvoll explained there are two elderly programs within the BOP focused on those
     who are aging and have medical conditions. There are also medical centers meant to
     support people who require a Care 3 or Care 4 level of health care or mental health care.
     Depending on their condition, it is possible for those at a medical center to be transferred
     to another facility after their treatment. There are also elderly care facilities for those aged
     65 and older.

12) Mr. Synsvoll also described other BOP programs, including those based on mental health.
     These are restrictive housing programs for those with severe mental health issues, and they
     include a stepdown component to help participants prepare for life in general population.
     The program includes the use of small groups and mental health treatment, and there are
     progressive steps to work through. The mental health units are available at the facilities in
     Atlanta and Allenwood. Successful completion of the program usually results in transfer
     to the general population of another USP. Mr. Synsvoll told us that the wait to get into
     these programs is usually a couple of months, and they were still deciding whether anyone
     from the SCU placed in one of those mental health units would be transferred to the medical
     center in Springfield to wait, or if they would just stay at Terre Haute.          He said the

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   psychology team is still making the determination on the best way to handle the wait. He
   also told us that consideration for these programs did not depend on a current BOP
   diagnosis and emphasized that if we have uncovered any relevant mental health
   information in our work on our cases, we should fet them know. The BOP designation team
   will then pass that information along to help determine the best placement for a person’s
   care level.

13) Mr. Synsvoll also noted that there is an additional mental health unit tailored for those with
    personality disorders. This is also a high security stepdown program that is available at
    USP Florence, with a similar program soon to open at USP Allenwood.

14) During the meeting, Mr. Synsvoll also said there is a long-term transitional care unit for
    those who need mental health treatment and will not be able to be designated to a facility’s
    general population.

15) Mr. Synsvoll said a new program will soon be available at USP Allenwood for those with
    intellectual disabilities.

16) Mr. Synsvoll told us there are several transitional units that are designed to be an alternative
   to the Special Housing Units. These are psychology-based programs intended for people
   to work toward placement in a general population and work on topics like life skills,
   positive behavior, and prison adjustment. These are offered at medium facilities, such as
    FCI Florence, Mr. Synsvoll explained that the BOP was looking into whether it could set
    up a transitional program at a couple of the USPs to provide support for some of the SCU
    prisoners in their transition back to a general population. The secure treatment placements
    generally last for 18 months, depending on the stage of treatment and security level of the
  _ prisoner,

17) Mr. Synsvoil explained that transitional units are not single-celled, and they are an open
   population setting. The programs allow the wardens to tailor the units to the needs of the
   population.

18) Mr. Synsvoll told us about the Life Connections Program, which is a faith-based reentry
    program offered to the general population at USP Terre Haute and soon to be opened at
    USP Tucson. Even though it has a reentry component, it is still available to people with
    life sentences. In this eighteen-month program, the prisoners work on special skills to serve
   as role models within the prison and admission to the program relies heavily on good prison
   conduct. The program features sessions on victim impact, mentoring, healthy living, and
   family contact and engagement; and it has a community service component. Prisoners must
   apply to get into the program, and they must meet certain criteria such as participation in
   any financial restitution that has been ordered in their case, English-language competency,
   at least a GED or working toward their GED, no deportation orders or gang activity, and
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    approval by the unit team at Terre Haute. Mr. Synsvoll said that some prisoners coming
    from the SCU would be eligible to enter this program based on their clean prison record.

19) Mr. Synsvoll informed us that while not everyone would get referred to ADX, some would.
    For those people who are designated to ADX, he explained that it does not necessarily
    mean that they would automatically be placed in the first step of the stepdown program.
    They could be placed in a step further along in the program, where appropriate. Each person
    might also progress through the steps more quickly than the guidelines suggest, with
    frequent review to gauge how each of the prisoners is progressing. This would be done
    with the hope of transitioning them to an open population sooner without sacrificing their
    own or others’ safety.

20) Mr. Synsvoll confirmed that there is currently bed space at the ADX stepdown program.
   Those coming off the SCU could be placed as far along as the third step of the stepdown
   program if the unit team and designation team recommended it. He warned there could
   also be some delay due to separatee issues, where two prisoners cannot be in the same unit
   at the same time. For those placed in the control unit, his team would take a look at each
   person’s adjustment once he got out there, and then they would decide how much time was
   necessary in this more restrictive setting. He also told us that ADX placements are not
   automatic. They must follow a process, including notice and a hearing.

21) Mr. Synsvoll explained that the stepdown program is most restrictive in the first step, in
    which people are still single-celled and are allowed only individual recreational time, but
   that as they progress, their contact with others increasingly opens up. Mr. Synsvoll said
   that usually those in the stepdown program are reviewed at a minimum every six months,
   but that his team would be reviewing the SCU transfers more frequently to try and get the
   prisoners moved to another facility as soon as they were ready.

22) Mr. Synsvoll clarified that when someone is being considered for the contro! unit, and the
   designation team is reviewing his files for a recent history of attempted escapes or violent
   incidents, that that means fairly recent. If there are older attempts, they will be noted but
   will not drive placement into the control unit.

23) Mr. Synsvoll said that even a prior prison murder would not result in an automatic
    designation to ADX but would just increase someone’s likelihood of such placement as the
    team would still need to review the rest of the file.

24) Mr. Synsvoll told us ADX also has a unit for those over 50. This unit is only for people
    who have no violent incidents toward staff or other prisoners and functions as an open
    housing unit. Mr. Synsvoll described it as a mellow unit intended for those who may not
    be able to transition to general population but do not need a higher security level, and it
   includes programming     privileges. Mr.   Synsvoll   said that this program   is colloquially
   referred to as the “AARP unit.”
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25) Mr. Synsvoll said it was not inconceivable that someone could go straight from the SCU
    to a medium-security facility, although he thought it more likely they would go to a USP
    first. For those doing well within their USPs, they could later be transferred to a medium
    facility.

26) Mr. Synsvoll asked that, now that he had outlined the programs for us, if we had requests
    for a specific institution or program that we thought would best suit our clients, that was
    the type of information the designation team wanted to have.

27) Mr. Synsvoll told us another major factor is location of the prisoner’s family. He told us to
    let him know if certain institutions would help our clients maintain their family ties.

28) Mr. Synsvoll explained that he would take the information we sent him and then meet with
   the rest of the BOP designation team to review the files and make the decision from there
   on where to send each person. He also offered to speak on the phone with individual teams
   if we had any questions or wanted to learn more about the various programs.

29) On January 10, 2025, my colleagues submitted information on behalf of Mr. Lawrence to
   Mr. Synsvoll. Our memo included information such as the fact that Mr. Lawrence will be
   turning 50 in April, when he would be eligible for the AARP unit; that Mr. Lawrence has
   a chronic blood cancer, polycythemia vera, which requires frequent blood draws             and
   outpatient phlebotomy treatment several times a year; that Mr. Lawrence has not received
   any disciplinary write-ups in his nearly twenty years in BOP custody and that his
   PATTERN      score is “Low”; that Mr. Lawrence has participated in classes that have been
   offered in the SCU over the years; that Mr. Lawrence is very close to his family, including
   his 97-year-old mother and his children, and that most of his relatives reside in Columbus,
   Ohio; that Mr. Lawrence’s § 2255 litigation is ongoing in the Federal District Court for the
   Southern District of Ohio; and that Mr. Lawrence has consistently expressed remorse for
   his actions. Our memo referred to a letter that Cory Shepherd, the former SCU unit
   manager, had written in support of Mr. Lawrence’s clemency petition, noting that from a
   security and management standpoint, he required less oversight because of his good
   conduct, even-keeled disposition, and respectful manner. In the letter, Mr. Shepherd had
   acknowledged the concerted effort and self-discipline it takes for someone to go as long as
   Mr. Lawrence has without a disciplinary write-up, describing this as a true testament to
   Mr. Lawrence’s character. Mr. Shepherd also opined that Mr. Lawrence could safely be
   managed in a general population environment.

30) On January 17, 2025, I, along with other members of our team, had a call with Mr. Synsvoll
   to talk about Mr. Lawrence and his specific designation needs. By this call, Mr. Synsvoll
   had received our January 10" submission regarding Mr. Lawrence.
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31) Mr. Synsvoll expressed the view that Life Connections would be great for Mr. Lawrence.
    Mr. Synsvoll gave us more information on the Life Connections program, including that
    newcomers are assigned to a mentor who has been in the program longer and can model
    good prison behavior for others. He also told us that there is no waiting list to get into Life
    Connections, so Mr. Lawrence would be able to start the program within USP Terre
    Haute’s general population right away.

32) Mr. Synsvoll apprised us of new honors units opening in several facilities, and that these
    units would be available to prisoners who were not involved in disruptive conduct. He
    suggested that Mr. Lawrence’s participation in Life Connections would increase the odds
   that he could someday transfer to one of these honors units.

33) We also discussed the Life Connections program at the USP in Tucson, as Mr. Lawrence
    has a daughter in Arizona. Mr. Synsvoll noted several times that proximity to family is an
    important factor they consider in placement decisions in an effort to maintain family ties.

34) At the end of this call, Mr. Synsvoll expected to get back to us on Tuesday or Wednesday
    the following week (January 20 or January 21) because he had a meeting with the assistant
    director to go over the BOP designation team’s current plans for each of the commuted
    men. (By “assistant director,” I assumed that to mean Shane Salem.) The expected
    timeframe was that the designations would be finalized and the transfers completed within
    eight to ten weeks.

35) On January 28, 2025, Mr. Synsvoll again spoke with defense counsel for the individuals
   whose death sentences had been commuted on a Zoom call so we could get clarity on
   President Trump’s January 20, 2025, Executive Order mandating that the places of
   imprisonment and conditions of confinement for our clients be “consistent with the
   monstrosity of their crimes and the threats they pose” and giving the Attorney General
   supervisory authority over the placement process. I was on this call.

36) A few days before this call, I heard from several other lawyers that all of our clients were
    being referred to ADX and had received a notice to that effect.

37) On the January 28" call, Mr. Synsvoll told us that his team was continuing with the same
    process as before. They were still considering individualized placements, and they were
   not recommending that everyone go to ADX. He explained that there were 12 people who
   had received ADX referrals before the Executive Order, but for the rest of the individuals,
   the designation team within BOP was going to continue to recommend placement at other
   institutions. The only thing that had changed on their end was that they now needed to
   present their designation plan to someone in the Office of the Deputy Attorney General
   (“ODAG”). Acting BOP Director Lathrop would be making that presentation based on the
   recommendations of the BOP designation team. This would include the materials the legal
   teams had submitted on behalf of their clients.
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38) Regarding the ADX referrals that were issued to everyone in the SCU, Mr. Synsvoll told
    us that the staff at USP Terre Haute had gotten ahead of themselves in anticipating that the
    Executive Order meant everyone would go to ADX. Mr. Synsvoll said that those referrals
    did not come     from   the BOP    designation   team.   Only   twelve   people   were   under
    consideration for placement at ADX by the BOP designation team, and no one had received
    a formal referral yet.

39) Mr. Synsvoll said he did not know the timing of when they would get direction from the
    ODAG. He did not know if the ODAG would wait until incoming Attorney General Pam
    Bondi was confirmed and sworn in, or if the ODAG would try to move forward before
    then. He was hopeful to have an answer for us soon. He said that if the ODAG rejected the
    BOP’s designation recommendations, the BOP designation team might have to start over
    with the process. He said that even if the ODAG approved BOP’s designation
    recommendations, it could still take several weeks before the transfers took place. He was
    also hopeful that if the Attorney General’s Office turned down any part of their
    recommendation, they would get some guidance for an alternative.

40) Mr. Synsvoll explained that if the ODAG instead suggested that everyone should remain
    in the SCU, that would require a review of the institution supplement because the SCU is
    intended only for those under a death sentence. It was not anticipated that this would
   happen.

41) Sometime after the January 28" call with Mr. Synsvoll, I learned from other attorneys with
    SCU clients that the post-Executive Order ADX referral notices passed out by the SCU
    Unit Team were rescinded. However, Attorney General Bondi signed a memorandum on
   February 5, 2025 adopting the Executive Order, and on February        11, 2025, ] learned that
   almost all of the commuted prisoners had once again received notice that they were being
   referred to ADX.

42) On February 20, 2025, I, along with other members of Mr. Lawrence’s legal team, met
   with Mr. Synsvoll over Zoom to discuss the new wave of ADX referrals.

43) On this call, Mr. Synsvoll walked us through the standard practice for the ADX referral
    process. He explained that the process starts when the warden of an institution, here USP
    Terre Haute, submits a referral memo. That memo should explain why each prisoner meets
    the criteria for restrictive placement, with the officials having reviewed their disciplinary
    history, programming and adjustment, their program review reports, mental health and
   medical assessments, education, and their general history within BOP custody. This then
   gets forwarded to the regional director in Kansas City and goes up the chain of command,
   After that, a hearing administrator will be assigned. The hearing administrator notifies the
   prisoner in a formal written notice that he is being referred to ADX, including the reasons
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    why. The referred prisoner also undergoes a medical and mental health screening, as ADX
    is unable to address certain health needs.

44) After the hearing, the administrator prepares a report and recommendation detailing the
    reasons for why placement at ADX is or is not appropriate. That report is then forwarded
    to the assistant director of the Correctional Programs Division, Shane Salem. If he accepts
    the hearing administrator’s recommendation of an ADX designation, then the prisoner will
    be notified that he’s being designated to ADX and given instructions on how to appeal the
    decision.

45) Mr. Synsvoll stated that it has been BOP’s practice not to transfer anyone to ADX while
    they have an appeal pending. He did not know whether the ODAG or AG would honor that
   past practice for the commuted SCU prisoners, so it was possible they could get transferred
   to ADX before their appeals were complete.

46) Mr. Synsvoll told us our clients could provide any other information they have about not
   meeting the criteria for ADX placement during their hearing, either in writing or verbally.

47) Mr. Synsvoll explained that while this is the usual process, following the January 20th
   Executive Order, the BOP is now required to coordinate with the Attorney General’s
   Office. Mr. Synsvoll did not know when and where in the process someone within the
   Attorney General’s Office would weigh in, but he felt they could exercise veto power if,
   for example, BOP did not recommend someone for ADX and the Attorney General
   disagreed.

48) Mr. Synsvoll informed us that because the Attorney General’s Office was not open to
   transfer to other institutions outside of ADX, the BOP planned to present to ODAG the
   option of placing suitable prisoners into the intermediate step in the ADX stepdown
   program. The proposal was to get these lower-risk prisoners into a step where they could
   start integrating with others as soon as possible. They would then be eligible for transfer to
   a USP after completing the program. However, based on Mr. Synsvoll’s meetings with
   ODAG so far, Mr. Synsvoll did not think ODAG was particularly interested in anyone
   going to an intermediate level. It was also still possible that ODAG would not be interested
   in anyone going to the stepdown program at all and that everyone could instead be placed
   under stricter conditions of confinement at ADX.

49) On February 27, 2025, I, along with other members of Mr. Lawrence’s legal team, had
    another Zoom with Mr. Synsvoll. He confirmed that everyone’s referral packet had been
    submitted to the North Central Regional Director as part of the ADX referral process. The
   referrals still had not been sent on to the Designation and Sentence Computation Center
   (“DSCC”), but BOP would soon be at the step of scheduling hearings.
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    50) We informed Mr. Synsvoll that Mr. Lawrence’s death sentence had been vacated after the
        2006 trial, and, while his appeal was pending, the BOP had performed the classification
        and designation process with his life-without-parole sentence in place and designated him
        to general population at USP Terre Haute. He was then transferred to general population
        at USP Lee. Mr. Lawrence had no disciplinary write-ups during that time. After his death
        sentence was reinstated by the Sixth Circuit in 2009, BOP then re-designated Mr. Lawrence
        to the SCU. Mr. Synsvoll told us that this was relevant information that Mr. Lawrence
        could present at his hearing, either orally or in writing. Mr. Synsvoll took notes on this
        information and said he was also going to send this to Joel Ramone at DSCC to make sure
        it was included in Mr. Lawrence’s referral packet.

    51) Mr. Synsvoll said that after the Executive Order, it would not be possible for any of our
        clients to go to USPs. BOP was now waiting to hear whether the DAG would allow BOP
        to place the commuted prisoners in the intermediate step of the ADX stepdown program or
        to the unit reserved for prisoners 50 and older with no history of violence against staff or
        prisoners (the “AARP unit”). Mr. Synsvoll said the BOP team had proposed to the DAG
        that these other options be used for placement.

    52) Mr. Synsvoll confirmed that with respect to Mr. Lawrence, prior to the issuance of the
        Executive Order, the BOP designation team had no objections to his going to the Life
        Connections program. Instead, this rejection came from someone within the ODAG or the
        Attorney General’s Office.

    53) Mr. Synsvoll said it would be possible that Mr. Lawrence could get slotted into the second,
        intermediate step of the stepdown program but that, because of the Executive Order, this
        was up to the ODAG. It was also still possible that the ODAG could require that Mr.
        Lawrence be placed in a unit with stricter conditions of confinement.

    54) Mr. Synsvoll did not know if this review by the Attorney General is a one-time review
        during these initial designations, or if she will remain involved in the commuted prisoners’
        placements over the next four years.

    55) In several of the calls, Mr. Synsvoll made reference to a spreadsheet he was maintaining
        with client-specific information for each of the commuted individuals and the redesignation
        recommendations the BOP team had made for each of them, including to institutions other
        than ADX.

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.


  Rernbaby Uewhoy                                               3/27 /Z02S
Kimberly Newberry                                              Date
